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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                  TYLER DIVISION

UNITED STATES OF AMERICA                       §
                                               §
V.                                             §            CRIMINAL NO. 6:01-CR-32-7
                                               §
KEVIN MOSS                                     §

               ORDER ADOPTING REPORT AND RECOMMENDATION
                   OF UNITED STATES MAGISTRATE JUDGE

       The above entitled and numbered criminal action was referred to United States Magistrate

Judge John D. Love pursuant to 28 U.S.C. § 636(b)(3). The Report and Recommendation of the

Magistrate Judge, which contains his proposed findings of fact and recommendations for the
    .
disposition of the present action, has been presented for consideration. The parties did not object

to the Report and Recommendation.

       The Court is of the opinion that the findings and conclusions of the Magistrate Judge are

correct. Therefore, the Court hereby adopts the Report and Recommendation of the United States

Magistrate Judge as the findings and conclusions of this Court.


        SIGNED this 5th day of June, 2008.




                                                         ____________________________________
                                                         MICHAEL H. SCHNEIDER
                                                         UNITED STATES DISTRICT JUDGE
